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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:20-cv-20079-SINGHAL/LOUIS

       BRUCE MUNRO, et al.,

                      Plaintiffs,

       v.

       FAIRCHILD TROPICAL BOTANIC
       GARDEN, INC., et al.,

                      Defendants.


            DEFENDANTS’ REPLY IN SUPPORT OF THE OMNIBUS MOTION IN LIMINE

              Pursuant to Local Rule 7.1, the Federal Rules of Evidence, and related case law, and the

   Court’s Scheduling Order (DE [27, 94]), Defendants 1 file a reply to Plaintiffs’ Response (DE

   [183]) and in support of the Omnibus Motion in Limine (“Motion”)(DE [144]). The Motion

   presents nine categories of evidence and argumentation Defendants seek to exclude. In response

   to the Motion, Plaintiffs generally aver that the categories for exclusion are vague and overbroad.

   But to support this position, Plaintiffs either mischaracterize or overstate the scope each

   evidentiary category. Yet as explained in the Motion, each request is a modest, clearly defined

   proposal, frequently accepted by courts both in this District and throughout the country. For these

   reasons, as set forth more fully below, Defendants ask the Court to grant their Motion and narrow

   the permissible evidence at trial to only include relevant, non-prejudicial material.




   1
       The term “Defendants” excludes Defendant Zhongshan G-Lights Lighting Co., Ltd.
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                                        REPLY ARGUMENT

       I.       Items One (Statutory Damages) and Four (Willful Infringement).

            Items One and Four ask the Court to exclude evidence regarding the companion concepts

   of statutory damages and willfulness, respectively. Plaintiffs have not clearly articulated exactly

   what damages they seek, but because statutory damages are not on the table in this case except

   regarding the DMCA claim (Count III), and because a showing of willfulness is only relevant

   when statutory damages are applicable, the Court should exclude all argument or evidence

   regarding statutory damages and willfulness regarding Counts I and II.

            The Motion’s argument on this is straightforward. Unregistered works are not eligible for

   statutory damages. Kernel Records Oy v. Mosley, 694 F.3d 1294, 1302 (11th Cir. 2012). 2 In this

   case, the only registered work is Forest of Light at Longwood Gardens (“Forest Registration”).

   The alleged infringement of that work began in 2018, almost a year before Forest of Light was

   registered. See Faulkner v. Nat’l Geographic Soc., 576 F. Supp. 2d 609, 613 (S.D.N.Y. 2008)

   (“Plaintiff may not pursue statutory damages here because he did not register his claims to

   copyright in the photographs in question before the start of the alleged infringement”).

   Accordingly, the Forest Registration is not eligible for statutory damages either. On that basis,

   Plaintiffs should be excluded from introducing evidence pertaining to statutory damages because

   it is irrelevant and confusing to a jury. Relatedly, because willfulness is only relevant where

   statutory damages are applicable, excluding any argument or evidence for the purposes of

   discussing willful or enhanced damages is appropriate.



   2
     Plaintiffs finally admit for the first time that they do not seek statutory damages for all
   unregistered works. (Response at 9 n.4.) Accordingly, this point is conceded, leaving only the
   analysis of whether statutory damages and willful should be excluded regarding the Forest
   Registration.

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          Plaintiffs’ Response contends that statutory damages and discussions of willful or

   enhanced damages should be admissible because Munro’s Forest Registration is dated before the

   second season of the Nightgarden (Response at 9.) 3 But by claiming they are seeking statutory

   damages only as to season two, Plaintiffs try to circumvent 17 U.S.C. § 412’s bar on statutory

   damages regarding both seasons. But “[e]very court to consider the issue has held that

   “infringement ‘commences’ for the purposes of § 412 when the first act in a series of acts

   constituting continuing infringement occurs.” Derek Andrew, Inc. v. Poof Apparel Corp., 528 F.3d

   696, 700–01 (9th Cir. 2008); See also Morgan v. Hawthorne Homes, Inc., CIV.A. 04-1809, 2011

   WL 2181385, at *3 (W.D. Pa. June 2, 2011) (granting a motion in limine on the matter of Section

   412 statutory damages and rejecting the precise argument Plaintiffs proffer here).

          In an unsupported secondary argument, Plaintiffs cite to Kobi Karp Architecture & Interior

   Design, Inc. v. O’Donnell Dannwolf & Partners Architects, Inc., 19-24588-CIV, 2020 WL

   4287005, at *3 (S.D. Fla. July 27, 2020) for the proposition that a defendant must admit liability

   for copyright infringement before Section 412 applies. (Response at 10 n.6.) Not only does Kobi

   Karp not even mention the matter of statutory damages or Section 412, but Plaintiffs’ argument

   that some factual admission is required is facially specious and unsupported. Defendants of course

   deny as a matter of fact and law that any infringement occurred in this case.

          Notwithstanding, the Court can rule as a matter of law that because statutory damages are

   not available under any set of possible facts in this case for Counts I and II, that evidence and

   argument about statutory damages (and willfulness) are both irrelevant and prejudicial under Rules

   401 and 403. Indeed, “when statutory damages are not at issue in an action, there is no proper role




   3
    The Response also concedes that Plaintiffs are not eligible for statutory damages and fees for
   season one. (Id. at 9, n. 4).
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   for proof of willfulness. Its only function would be in service of an attempt by plaintiff to prejudice

   the jury’s assessment of damages and, if it proves to be in issue, liability by portraying defendants

   in an unflattering light.” Leonard v. Stemtech Health Scis., Inc., 981 F. Supp. 2d 273, 279 (D. Del.

   2013)(granting motion in limine excluding willful infringement as irrelevant).

             Defendants do not seek exclusion of evidence as to Count III (DMCA), and if Count III

   survives summary judgment, then evidence regarding statutory damages and scienter would be

   permissible as to Count III only. 4 Otherwise, evidence or discussion of statutory damages and

   willfulness in any context would be both irrelevant under Rule 401 and confusing and prejudicial

   to the jury under Rule 403.

       II.      Item Two (Improper Damages).

             Item Two asks the Court to exclude evidence and argumentation regarding emotional

   distress and reputation. Plaintiffs did not address this argument except to impugn it for vagueness.

   (Response at 11.) The request is not vague, as courts frequently exclude evidence regarding

   emotional damages on both Rule 401 and 403 grounds when emotional damages are irrelevant.

   See, e.g., Godwin v. Wellstar Health Sys., Inc., 1:12-CV-3752-WSD, 2015 WL 7313399, at *6

   (N.D. Ga. Nov. 19, 2015) (granting a motion in limine because “mental anguish is irrelevant to

   any recoverable damages, and, even if it were relevant—which it is not—it is required to be

   excluded as more prejudicial than probative and confusing and misleading to the jury.”)

             Here, damages for emotional distress or reputational harm are not recoverable. See Nunes



   4
     Plaintiffs’ cites to Agence France Press v. Morel are misplaced. Plaintiffs use a quote to suggest
   that they should be permitted to discuss willfulness because it is relevant to the DMCA claims.
   (Response at 8.) What Plaintiffs miss here is that Agence France did not opine about the
   admissibility of willfulness evidence; it simply stated that the jury used willfulness evidence
   admitted in the case to also assist in finding liability under the DMCA. 2014 WL 3963124 at *7
   (S.D.N.Y. 2014). Here, unlike Agence France, statutory damages are not eligible, therefore
   Defendants seek to entirely exclude willful damages as to Count I and II.
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   v. Rushton, 299 F. Supp. 3d 1216, 1228 (D. Utah 2018) (listing cases). Yet Plaintiffs have intimated

   that they may seek damages for emotional distress, and/or reputational harm. SOF ¶ 108–10.

   Because these concepts are irrelevant and prejudicial and Plaintiffs have not refuted such, the Court

   should prevent Plaintiffs from presenting evidence or arguing about reputational harm and

   emotional distress.

      III.      Item Three (Defendants’ Financial Condition).

             Item Three seeks to exclude general evidence of Defendants’ financial condition. Plaintiffs

   mischaracterize the request to suggest that Defendants seek exclusion of all financial data.

   (Response at 7.) Where, as here, a plaintiff seeks a defendant’s profits for an alleged copyright

   infringement or a DMCA violation, evidence regarding revenue reasonably related to the alleged

   infringement is probative and necessary. Thornton v. J Jargon Co., 580 F. Supp. 2d 1261, 1280

   (M.D. Fla. 2008). In this case, the only potentially relevant financial data would be the Nightgarden

   revenues. Defendants at this time do not seek to exclude evidence related to the profits, loss,

   expenses and revenues associated with the Nightgarden itself.

             Instead, Defendants seek exclusion of general financial data and revenue information

   pertaining to unrelated matters. Except for Defendant Nightgarden, LLC, each Defendant in this

   case generates revenue from multiple sources, events, and projects throughout the year, and in

   ways entirely unrelated to the NightGarden and works at issue in this case. Thus, Defendants seek

   to exclude on Rule 401 grounds all financial evidence except that which pertains to the

   Nightgarden.

             Moreover, such evidence is also prejudicial. Like evidence about insurance coverage,

   described infra, evidence about general financial data foments an inherent prejudicial effect on

   juries—which are psychologically inclined to evaluate liabilities proportionally, regardless of the



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   actual merits of a case. See Rodrick v. Wal-Mart Stores E., L.P., 07-0768-CV-W-FJG, 2009 WL

   10672554, at *4 (W.D. Mo. July 22, 2009) (granting, on prejudice grounds, motions in limine to

   exclude both general financial information and any reference to insurance); GT Software, Inc. v.

   webMethods, Inc., 1:07-CV-0172-BBM, 2008 WL 11334115, at *3 (N.D. Ga. May 13, 2008)

   (explaining the natural, prejudicial effect on juries presented with irrelevant financial data).

   Because general financial data are also prejudicial (to the extent even relevant), the Court should

   also exclude such evidence on Rule 403 grounds.

      IV.      Item Five (Unrelated Purported Infringement).

            Item Five asks the Court to exclude evidence or discussion of any potential allegations of

   infringement that do not appear in the Amended Complaint. Specifically, Plaintiffs have

   speculated about other NightGarden installations and photographs used in the pitch decks, neither

   of which were alleged or had any connection to the mushrooms, fiber lights or Plaintiffs’ works.

   (Motion DE [144] at 8). To bootstrap an additional claim that did not appear in either the Complaint

   or Amended Complaint and is not at issue in the case would be highly prejudicial, confusing to a

   jury, and irrelevant. Plaintiffs’ Response did not specifically respond to Item Five. Accordingly,

   the Court can grant the Motion as unopposed as to Item Five and exclude evidence regarding un-

   alleged potential third-party claims of infringement. Habersham Plantation Corp. v. Molyneux,

   No. 10-61526-CIV, 2011 WL 13216995, at *9 (S.D. Fla. Dec. 5, 2011) (precluding any mention

   of unrelated infringement under F.R.E. 401, 402, and 403).

      V.       Items Six (Purported Discovery Abuses) and Nine (Plaintiffs’ Belated
               Production).

            Items Six and Nine ask the Court to exclude evidence or discussion of perceived discovery

   deficiencies and documents produced after the discovery cutoff, respectively. Plaintiffs contend

   that these Items are flip sides of the same coin that constitute a heads-I-win-tales-you-lose

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   situation. (Response at 5.) But, Item Six derives from the Rules of Evidence and pertains to

   discussions before the jury about discovery procedure. Item Nine derives from the Rules of Civil

   procedure and pertains to discovery product. Both are permissible, mutually independent

   exclusions, and neither negates the other.

          Item Six is a Rule 403 matter that asks the Court to exclude from trial any discussion or

   evidence regarding alleged discovery abuses because such discussions (aside from being false)

   would only serve to confuse and prejudice the jury. Unrelatedly, Item Nine arises from Federal

   Rule of Civil Procedure 37(c). It asks the Court to exclude documents produced by Plaintiffs after

   the discovery deadline (that existed before discovery cutoff) because Plaintiffs’ belated,

   unjustified, and harmful dump of thousands of pages of documents prejudiced Defendants and

   precluded any discovery follow-up.

          Plaintiffs argument in response to these two Items is that Defendants are seeking an

   advisory opinion and is unnecessary because Rule 37 is self-executing and so the Court would

   preclude such evidence anyway. (Response at 5.) Plaintiffs’ argument is belied by abundant case

   law granting motions in limine regarding Rule 37(c). See, e.g., Hoeltzell v. Caldera Graphics, 11-

   21245-CV, 2012 WL 13012758, at *1 (S.D. Fla. June 13, 2012); Dorvil v. Nationstar Mortgage

   LLC, 20-11069, 2021 WL 1546024, at *6 (11th Cir. Apr. 20, 2021)(applying Rule 37(c) to motions

   in limine). Regardless, whether the Court excludes untimely evidence under Rule 37(c), sua

   sponte, or pursuant to the Motion, the purported discovery “abuses” and post-discovery evidence

   is unjustifiably untimely and prejudicial.

          Plaintiffs lastly argue that Item Nine is not narrowly tailored. Specifically, Plaintiffs cite to

   Powers for the proposition that the Court lacks “context surrounding the alleged improper

   introduction” of the evidence, Powers v. Target Corp., 19-CV-60922, 2020 WL 1986968, at *2



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   (S.D. Fla. Apr. 27, 2020), and that Defendants “identified no specific pieces of information they

   seek to exclude.” (Response at 5.) But the “context” is a bright-line application of Rule 37(c)’s

   automatic exclusion, and the “specific pieces of information” are all documents Plaintiffs

   knowingly withheld and produced after the January 22, 2021 discovery cutoff and during or after

   Plaintiffs’ last witness deposition concluded. (Motion at 11.) Because courts routinely exclude late

   evidence and prevent discussions before the jury about alleged discovery deficiencies, the Court

   should grant Defendants’ Motion as to Items Six and Nine.

      VI.      Item Seven (Insurance Coverage).

            Item Seven seeks to exclude all references to Defendants’ liability insurance because such

   evidence is both irrelevant and prejudicial. In response, Plaintiffs admit that such evidence cannot

   be used to show negligence or liability but then argue that Rule 411 “expressly defines insurance

   to be admissible for a multitude of purposes.” (Response at 6.) But Plaintiffs improperly conflate

   the mandatory (restrictive) and permissive language of the Rule, which states that evidence

   regarding insurance can never be used to demonstrate that a party acted wrongfully but that the

   “court may admit” such evidence for other purposes—but only to the extent it is neither irrelevant

   nor prejudicial, pursuant to Rules 401 and 403. Fed. R. Evid. 411.

            The only possible reason Plaintiffs offer in favor of admitting insurance evidence is that it

   may prove bias because certain Defendants are indemnifying other Defendants. (Response at 6.)

   But Plaintiffs do not explain what possible bias results from certain Defendants honoring their

   contractual indemnity obligations.

            Furthermore, Plaintiffs have not overcome the presumptive inadmissibility of insurance

   evidence. See Head v. Target Corp., 4:09-CV-0012-HLM, 2009 WL 10664782, at *4 (N.D. Ga.

   Dec. 3, 2009) ([e]vidence of insurance coverage generally is inadmissible under [state] law and



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   under the Federal Rules of Evidence”). Indeed, evidence of insurance is so inherently prejudicial

   that it is inadmissible by default, and the party seeking to admit such evidence must overcome a

   strong presumption to the contrary. See id. (“evidence of insurance coverage is prejudicial by

   nature, and court[s] should not admit it unless it is clearly relevant and its relevance outweighs its

   prejudice.”) For this reason, courts in this Circuit frequently grant motions to exclude evidence

   pertaining to insurance. See, e.g., Riddle v. Tarpley, 1:17-CV-1929-ODE, 2018 WL 8198019, at

   *3 (N.D. Ga. Sept. 7, 2018) (excluding any reference to insurance because “evidence of

   Defendants’ liability insurance could have a strong prejudicial effect on the jury.”) See also

   Jetport, Inc. v. Landmark Aviation Miami, LLC, 1:16-CV-23303-UU, 2017 WL 7734085, at *2

   (S.D. Fla. July 26, 2017); Hodgetts v. City of Venice, Fla., 8:11-CV-00144-EAK, 2011 WL

   2183709, at *2 (M.D. Fla. June 6, 2011); Welsh v. Newman Intern. Transp., Inc., 2:10-CV-582-

   FTM-SPC, 2011 WL 5570800, at *4 (M.D. Fla. Nov. 16, 2011). Because evidence regarding

   insurance is both irrelevant and prejudicial in this case, Defendants ask the Court to exclude such

   evidence under Rules 401 and 403.

       VII.    Item Eight (Selection and Arrangement).

           Item Eight asks the Court to preclude all evidence pertaining to the “selection and

   arrangement” of the lights, a request that, in Plaintiffs’ words, would “bar all evidence on what the

   copyrighted sculptures in [the] suit look like.” (Response at 6, 7.) Plaintiffs misunderstand the

   request. Defendants do not ask the Court to bar evidence about the lights’ appearance, i.e., what

   the stick-and-bulb light or fireflies look like. Instead, Defendants seek to preclude evidence about

   the selection and arrangement of the lights, i.e., the way Plaintiffs decide to insert the sticks and

   bulbs and fireflies in the dirt.

           The reason Defendants seek to exclude such evidence or argumentation is simple: selection



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   and arrangement is copyright term of art—a theory that permits an entity to claim a copyright by

   organizing a particularized combination of otherwise-noncopyrightable elements into an original

   work. Feist Publications, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 358 (1991). “Put another

   way, what a selection and arrangement copyright protects is the particular way in which the artistic

   elements form a coherent pattern, synthesis, or design.” Skidmore as Tr. for Randy Craig Wolfe

   Tr. v. Led Zeppelin, 952 F.3d 1051, 1074 (9th Cir. 2020), cert. denied sub nom, 141 S. Ct. 453

   (2020) (emphasis original).

           Throughout this case, Plaintiffs have repeatedly disclaimed the theory of selection and

   arrangement. SOF ¶¶ 29–30, 32. 5 Plaintiffs also did not allege selection and arrangement in their

   Amended Complaint. See (DE [69]). As such, Defendants did not seek additional discovery on the

   matter of selection and arrangement used by Plaintiffs. At the same time, Plaintiffs claim that some

   of the “works” at issue are certain exhibitions (DE [184] at 8)(listing for example “Field of Light

   (Long Knoll, Wilshire, UK 2004”.) If, at trial, Plaintiffs are permitted to raise for the first time the

   issue of selection and arrangement (by claiming copyright protection of, for example, the patterns,

   topographies, or spatial formulae for placing the lights in the ground at particular exhibitions) then

   Defendants would face significant prejudice by scrambling to respond to a non-alleged and

   previously-disclaimed theory. Because Plaintiffs do not seek protection of the selection and

   arrangement of the lights, the Court should prevent Plaintiffs from prejudicing Defendants and

   confusing the jury by presenting evidence about a theory that has no bearing on the case.

           WHEREFORE, for the reasons expressed in the Motion and reiterated here, Defendants

   ask the Court to exclude the nine categories of evidence and argumentation outlined above.



   5
     For example, Bruce Munro was asked whether defendants copied a layout of his, to which he
   responded: “It’s nothing to do with the layout. It’s the essence of sculpture we’re talking about and
   it – Please, can we just agree on that?” Munro Dep. (DE [136] pp. 163:19-164:10).
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   Dated: June 18, 2021.

                                      Respectfully Submitted,
                                      SHULLMAN FUGATE PLLC

                                      Allison S. Lovelady
                                      Deanna K. Shullman (FBN 514462)
                                      Allison S. Lovelady (FBN 70662)
                                      Giselle M. Girones (FBN 124373)
                                      James M. Slater (FBN 111779)
                                      2101 Vista Parkway, Suite 4006
                                      West Palm Beach, FL 33411
                                      Tel: (561) 614-2592
                                      dshullman@shullmanfugate.com
                                      alovelady@shullmanfugate.com
                                      ggirones@shullmanfugate.com
                                      jslater@shullmanfugate.com
                                      Attorneys for Defendants




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